
		
				IN RE AMENDMENT OF RULE 1.60, OKLAHOMA SUPREME COURT RULES2023 OK 43Decided: 04/17/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 43, __ P.3d __

				

IN RE AMENDMENT OF RULE 1.60, OKLAHOMA SUPREME COURT RULES




ORDER


The Court hereby amends Rule 1.60, Oklahoma Supreme Court Rules, 12 O.S., ch. 15, app 1., as shown on the attached Exhibits A and B, effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 17th DAY OF April, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


&nbsp;


&nbsp;

EXHIBIT A

Oklahoma Supreme Court Rules

Rule 1.60 -- DEFINITION OF INTERLOCUTORY ORDERS APPEALABLE BY RIGHT

Orders of the district court that are interlocutory and may be appealed by right in compliance with the rules in this part are those that:

(a) Grant a new trial or vacate a judgment on any ground, including that of newly discovered evidence or the impossibility of making a record (12 O.S. § 655, 12 O.S. § 952(b)(2));

(b) Discharge, vacate or modify or refuse to discharge, vacate or modify an attachment (12 O.S. § 993(A)(1));

(c) Deny a temporary injunction, grant a temporary injunction except where granted at an ex parte hearing, or discharge, vacate or modify or refuse to discharge, vacate or modify a temporary injunction (12 O.S. § 952(b)(2) and 12 O.S. § 993(A)(2));

(d) Discharge, vacate or modify or refuse to discharge, vacate or modify a provisional remedy which affects the substantial rights of a party (12 O.S. § 952(b)(2) and 12 O.S. § 993(A)(3));

(e) Appoint a receiver except where the receiver was appointed at an ex parte hearing, refuse to appoint a receiver or vacate or refuse to vacate the appointment of a receiver (12 O.S. § 993(A)(4));

(f) Direct the payment of money pendente lite except where granted at an ex parte hearing, refuse to direct the payment of money pendente lite, or vacate or refuse to vacate an order directing the payment of money pendente lite (12 O.S. § 993(A)(5));

(g) Certify or refuse to certify an action to be maintained as a class action (12 O.S. § 993(A)(6));

(h) Are enumerated in 58 O.S. § 721 (interlocutory probate orders but not orders allowing a final account and granting a decree of distribution);

(i) Are made under the provisions of 12 O.S. § 1879; or

(j) Temporary orders of protection made in proceedings pursuant to the Protection From Domestic Abuse Act, 22 O.S. §§ 60 et seq.; or

(k) Orders denying a motion to dismiss pursuant to the Oklahoma Citizens Participation Act, 12 O.S. § 1437.

&nbsp;


&nbsp;

EXHIBIT B

Oklahoma Supreme Court Rules

Rule 1.60 -- DEFINITION OF INTERLOCUTORY ORDERS APPEALABLE BY RIGHT

Orders of the district court that are interlocutory and may be appealed by right in compliance with the rules in this part are those that:

(a) Grant a new trial or vacate a judgment on any ground, including that of newly discovered evidence or the impossibility of making a record (12 O.S. § 655, 12 O.S. § 952(b)(2));

(b) Discharge, vacate or modify or refuse to discharge, vacate or modify an attachment (12 O.S. § 993(A)(1));

(c) Deny a temporary injunction, grant a temporary injunction except where granted at an ex parte hearing, or discharge, vacate or modify or refuse to discharge, vacate or modify a temporary injunction (12 O.S. § 952(b)(2) and 12 O.S. § 993(A)(2));

(d) Discharge, vacate or modify or refuse to discharge, vacate or modify a provisional remedy which affects the substantial rights of a party (12 O.S. § 952(b)(2) and 12 O.S. § 993(A)(3));

(e) Appoint a receiver except where the receiver was appointed at an ex parte hearing, refuse to appoint a receiver or vacate or refuse to vacate the appointment of a receiver (12 O.S. § 993(A)(4));

(f) Direct the payment of money pendente lite except where granted at an ex parte hearing, refuse to direct the payment of money pendente lite, or vacate or refuse to vacate an order directing the payment of money pendente lite (12 O.S. § 993(A)(5));

(g) Certify or refuse to certify an action to be maintained as a class action (12 O.S. § 993(A)(6));

(h) Are enumerated in 58 O.S. § 721 (interlocutory probate orders but not orders allowing a final account and granting a decree of distribution);

(i) Are made under the provisions of 12 O.S. § 1879;

(j) Temporary orders of protection made in proceedings pursuant to the Protection From Domestic Abuse Act, 22 O.S. §§ 60 et seq.; or

(k) Orders denying a motion to dismiss pursuant to the Oklahoma Citizens Participation Act, 12 O.S. § 1437.

&nbsp;

&nbsp;





